                    Case 1:22-cv-00109-KLD Document 10 Filed 12/27/22 Page 1 of 11



  JOHN M. NEWMAN                                                                                                 ABBIE J.N. CZIOK
  Assistant U.S. Attorney                                                                                        Assistant U.S. Attorney
  U.S. Attorney’s Office                                                                                         U.S. Attorney’s Office
  P.O. Box 8329                                                                                                  901 Front Street, Suite 1100
  Missoula, MT 59807                                                                                             Helena, MT 59626
  101 E Front Street, Suite 401                                                                                  Phone: (406) 457-5268
  Missoula, MT 59802                                                                                             Fax: (406) 457-5130
  Phone: (406) 829-3336                                                                                          Email: abbie.cziok@usdoj.gov
  Fax: (406) 542-1476
  Email: john.newman@usdoj.gov

  Attorneys for Defendant
  United States of America

                                          IN THE UNITED STATES DISTRICT COURT
                                              FOR THE DISTRICT OF MONTANA
                                                    BILLINGS DIVISION


   BLOSSOM OLD BULL,

                                Plaintiff,                                                                   CV 22-109-BLG-SPW-KLD
               vs.

   UNITED STATES OF AMERICA,                                                                                 DEFENDANT UNITED STATES
   and DOES 1-10,                                                                                             OF AMERICA’S ANSWER TO
                                                                                                             FIRST AMENDED COMPLAINT
                                Defendants.



                 Defendant United States of America answers Plaintiff’s First Amended

Complaint as follows:




                                                                                                         1
\\usa.doj.gov\district\mt\missoula\common\civil\2022\2022v00173\answer to first amended complaint.docx
                    Case 1:22-cv-00109-KLD Document 10 Filed 12/27/22 Page 2 of 11



                                                                                         INTRODUCTION

                 1.               The United States admits that Braven Glenn died on November 24,

2020, following an attempt by Crow Nation Tribal Police to initiate a traffic stop.

It also admits that Blossom Old Bull is the personal representative of the Estate of

Braven Glenn. The United States lacks knowledge or information sufficient to

form a belief about the truth of the remaining allegations and therefore denies.

                 2.               The allegations in Paragraph 2 are legal conclusions to which no

response is required. To the extent a response is required, denied.

                 3.               The allegations in Paragraph 3 are legal conclusions to which no

response is required. To the extent a response is required, denied.

                 4.               The allegations in Paragraph 4 are legal conclusions to which no

response is required. To the extent a response is required, denied.

                 5.               The United States admits that the Department of the Interior received

an FTCA administrative submission on March 23, 2022, for Blossom Old Bull

purportedly on behalf of the Estate of Braven Glenn. The Department denied the

claim on September 30, 2022. The United States denies the remaining allegations.

                 6.               The allegations in Paragraph 6 are legal conclusions to which no

response is required, and they appear to be directed to other defendants. To the

extent a response is required, denied.

                                                                                                         2
\\usa.doj.gov\district\mt\missoula\common\civil\2022\2022v00173\answer to first amended complaint.docx
                    Case 1:22-cv-00109-KLD Document 10 Filed 12/27/22 Page 3 of 11



                 7.               The allegations in Paragraph 7 are legal conclusions to which no

response is required. To the extent a response is required, denied.

                 8.–9. The United States lacks knowledge or information sufficient to form a

belief about the truth of the allegations in paragraphs 8 and 9 and therefore denies.

                                                                             FACTUAL ALLEGATIONS

                 10.              The United States admits that Braven Glenn died on November 24,

2020, in an accident following an attempt by Crow Nation Tribal Police to initiate

a traffic stop. The United States denies that any federal employees were involved

in the attempt to initiate a traffic stop or any alleged pursuit. The United States

lacks knowledge or information sufficient to form a belief about the truth of the

remaining allegations and therefore denies.

                 11.              The United States denies that any federal employees were involved in

the attempt to initiate a traffic stop or any alleged pursuit. The United States lacks

knowledge or information sufficient to form a belief about the truth of the

remaining allegations and therefore denies.

                 12.              Denied.

                 13.              The United States admits that a collision occurred with Braven

Glenn’s vehicle and a train. As to the remaining allegations, the United States lacks



                                                                                                         3
\\usa.doj.gov\district\mt\missoula\common\civil\2022\2022v00173\answer to first amended complaint.docx
                    Case 1:22-cv-00109-KLD Document 10 Filed 12/27/22 Page 4 of 11



knowledge or information sufficient to form a belief about their truth and therefore

denies.

                 14.              The United States lacks knowledge or information sufficient to form a

belief about the truth of the allegations and therefore denies.

                 15.              Denied.

                 16.              Denied.

                 17.              Denied.

                 18.              The United States admits that BIA Officer Figueroa Jr. visited the

home of Blossom Old Bull on November 24, 2020, and spoke to Braven Glenn’s

brother. The United States lacks knowledge or information sufficient to form a

belief about the truth of the remaining allegations and therefore denies.

                 19.              Denied.

                 20.              The United States admits that Officer Figueroa spoke with Braven

Glenn’s brother. The United States lacks knowledge or information sufficient to

form a belief about the truth of the remaining allegations and therefore denies.

                 21.              The United States admits that Officer Figueroa asked Kevin Old Bull

to ID the decedent at the Bullis Funeral home. The United States denies the

remaining allegations.



                                                                                                         4
\\usa.doj.gov\district\mt\missoula\common\civil\2022\2022v00173\answer to first amended complaint.docx
                    Case 1:22-cv-00109-KLD Document 10 Filed 12/27/22 Page 5 of 11



                 22.–24. The United States lacks knowledge or information sufficient to

form a belief about the truth of the allegations in paragraphs 22 through 24 and

therefore denies.

                 25.              The United States denies that any BIA officers or other federal

employees were present when Braven Glenn died. It also denies that any BIA

officers or other federal employees prevented other people from providing medical

attention to Braven Glenn. The United States lacks knowledge or information

sufficient to form a belief about the truth of the remaining allegations and therefore

denies.

                 26.              Denied.

                 27.–28. The United States lacks knowledge or information sufficient to

form a belief about the truth of the allegations in paragraphs 27 and 28 and

therefore denies.

                 29.              The United States denies that a BIA employee requested an

ambulance or cancelled an ambulance relating to this incident. The United States

lacks knowledge or information sufficient to form a belief about the truth of the

remaining allegations and therefore denies




                                                                                                         5
\\usa.doj.gov\district\mt\missoula\common\civil\2022\2022v00173\answer to first amended complaint.docx
                    Case 1:22-cv-00109-KLD Document 10 Filed 12/27/22 Page 6 of 11



                 30.              The allegations in paragraph 30 are legal arguments and statements of

counsel to which no response is necessary. To the extent a response is necessary,

the United States denies.

                 31.              The United States only admits that any involved BIA officers were

acting within the scope of their employment with the United States. The remaining

allegations are denied.

                 32.              The allegations in paragraph 32 are directed to other parties, so no

response is required. To the extent a response from the United States is required, it

lacks knowledge or information sufficient to form a belief about the truth of the

allegations and therefore denies.

                 33.–35. The allegations in paragraphs 33 through 35 are denied.

                 36.              The allegations in paragraph 36 include conclusions of law to which

no response is required. To the extent a response is required on such conclusions,

and as to other allegations, the United States denies.

                 37.              Denied.

                                                                          COUNT 1 – 42 USC § 1983

                                                                  Individual Liability (Does 1-10)

                 38.              The United States incorporates all previous responses.



                                                                                                         6
\\usa.doj.gov\district\mt\missoula\common\civil\2022\2022v00173\answer to first amended complaint.docx
                    Case 1:22-cv-00109-KLD Document 10 Filed 12/27/22 Page 7 of 11



                 39.–44.                           The claims set forth in paragraphs 39 through 44 are not

directed to the United States, so no response is required. To the extent a response is

required, the United States lacks knowledge or information sufficient to form a

belief about the truth of the allegations and therefore denies.

                                                                          COUNT 2 – 42 USC § 1983

                                                                        Entity Liability (Does 1-10)

                 45.              The United States incorporates all previous responses.

                 46.–50.                           The claims set forth in paragraphs 46 through 50 are not

directed to the United States, so no response is required. To the extent a response is

required, the United States lacks knowledge or information sufficient to form a

belief about the truth of the allegations and therefore denies.

                                            COUNT 3 – MONTANA CONSTITUTIONAL RIGHTS

                                                                                              (Does 1-10)

                 51.              The United States incorporates all previous responses.

                 52.–55.                           The claims set forth in paragraphs 52 through 55 are not

directed to the United States, so no response is required. To the extent a response is

required, the United States lacks knowledge or information sufficient to form a

belief about the truth of the allegations and therefore denies.



                                                                                                         7
\\usa.doj.gov\district\mt\missoula\common\civil\2022\2022v00173\answer to first amended complaint.docx
                    Case 1:22-cv-00109-KLD Document 10 Filed 12/27/22 Page 8 of 11



                                                                             COUNT 4 – NEGLIGENCE

                                                                           (United States and Does)

                 56.              The United States incorporates all previous responses.

                 57.              The allegations in paragraph 57 are not directed to the United States,

so no response is required. To the extent a response is required, the United States

lacks knowledge or information sufficient to form a belief about the truth of the

allegations and therefore denies.

                 58.              The allegations in paragraph 58 are not directed to the United States,

so no response is required. To the extent a response is required, the United States

lacks knowledge or information sufficient to form a belief about the truth of the

allegations and therefore denies.

                59.–60. The allegations in paragraphs 59 and 60 are denied.

                                                                         COMPENSATORY DAMAGES

                 61.–63. The allegations in paragraphs 61 through 63 are denied.

                                                                                     ATTORNEYS’ FEES

                 64.–65. The allegations in paragraphs 64 and 65 are denied.

                                                                                      GENERAL DENIAL

                 Defendant denies all allegations of the Complaint, including prayers for

relief, not expressly admitted in the Answer.

                                                                                                         8
\\usa.doj.gov\district\mt\missoula\common\civil\2022\2022v00173\answer to first amended complaint.docx
                    Case 1:22-cv-00109-KLD Document 10 Filed 12/27/22 Page 9 of 11



                                                                            AFFIRMATIVE DEFENSES

        1. This Court lacks jurisdiction over the subject matter of the action.

        2. The Complaint fails to state a claim upon which relief can be granted.

        3. Defendant United States, through its employees and agents, acted with due

                 care and diligence at all relevant times, and no acts or omissions by the

                 United States were the proximate cause of any injury to the Plaintiff.

        4. The United States was not the employer of any member of the Crow Tribal

                 Police Force. The United States cannot be held liable under the FTCA for

                 their negligence. See 28 U.S.C. §§ 1346(b)(1), 2671

        5. Plaintiff is not entitled to a jury trial. Any action against the United States

                 pursuant to 28 U.S.C. § 1346 shall be tried by the court without a jury.

        6. The negligence of the Plaintiff was the proximate cause of and contributed

                 to any alleged injuries or damages sustained, barring recovery, or

                 alternatively, mandating that any recovery be proportionately reduced. Mont.

                 Code Ann. § 27-1-702.

        7. Plaintiff’s recovery, if any, may be diminished by the comparative fault of

                 other defendants or of non-parties. Mont. Code Ann. §§ 27-1-702, -703.

        8. The United States may be entitled to a collateral source offset under

                 Montana Code Annotated § 27–1–308.

                                                                                                         9
\\usa.doj.gov\district\mt\missoula\common\civil\2022\2022v00173\answer to first amended complaint.docx
                   Case 1:22-cv-00109-KLD Document 10 Filed 12/27/22 Page 10 of 11



        9. Plaintiff’s recovery is limited to the damages recoverable under the Federal

                 Tort Claims Act. See 28 U.S.C. §§ 2674, 2675(b).

        10.Plaintiff cannot recover attorney’s fees. 28 U.S.C. § 2412(d)(1)(A),

                 The United States may have further and additional defenses which are not

yet known but which may become known through future discovery.

                                                         UNITED STATES’ REQUEST FOR RELIEF

                 The United States requests that Plaintiff take nothing by way of the

Complaint, that this case be dismissed, and for any other relief the Court deems

just and appropriate.

                 DATED this 27th day of December, 2022.

                                                                                                         JESSE A. LASLOVICH
                                                                                                         United States Attorney


                                                                                                         /s/ Abbie J.N. Cziok
                                                                                                         JOHN M. NEWMAN
                                                                                                         ABBIE J.N. CZIOK
                                                                                                         Assistant U.S. Attorneys
                                                                                                         Attorneys for Defendant United States




                                                                                                           10
\\usa.doj.gov\district\mt\missoula\common\civil\2022\2022v00173\answer to first amended complaint.docx
                   Case 1:22-cv-00109-KLD Document 10 Filed 12/27/22 Page 11 of 11




                                                                     CERTIFICATE OF SERVICE
      I hereby certify that on the 27th day of December, 2022, a copy of the
foregoing document was served on the following person by the following means.

                      1, 2                         CM/ECF
                                                   Hand Delivery
                                                   U.S. Mail
                                                   USAfx
                                                   E-Mail

  1. Clerk of Court                                                                                       2. Timothy M. Bechtold
                                                                                                          BECHTOLD LAW FIRM, PLLC
                                                                                                          P.O. Box 7051
                                                                                                          Missoula, Montana 59807-7051
                                                                                                          (406) 721-1435 – phone
                                                                                                          tim@bechtoldlaw.net
                                                                                                          Attorney for Plaintiff




                                                                                                          /s/ Abbie J.N. Cziok
                                                                                                          Assistant U.S. Attorney
                                                                                                          Attorney for Defendant United States




                                                                                                         11
\\usa.doj.gov\district\mt\missoula\common\civil\2022\2022v00173\answer to first amended complaint.docx
